Case 3:16-md-02741-VC Document 89-10 Filed 01/05/17 Page 1 of 3




              Exhibit 10
           Case 3:16-md-02741-VC Document 89-10 Filed 01/05/17 Page 2 of 3
002948



 From:              Kathryn Guyton
 To:                Ross, Matthew
 Cc:                monograph112@iarc.fr
 Subject:           FW: Official invitation: IARC Monograpsh Vol. 112, Lyon, France, 3-10 March 2015
 Date:              Friday, August 8, 2014 8:56:52 AM
 Attachments:       Hotel description and directions.doc
                    Travel_info.doc
                    Hotel and travel form 112.doc
                    Lyon_map_with_hotels_IARC_metro.ppt


                                     Official Invitation
            IARC Monographs on the Evaluation of Carcinogenic Risks to Humans
         Volume 112 - 'Some Organophosphate Insecticides and Herbicides: Diazinon,
                  Glyphosate, Malation, Parathon, and Tetrachlorvinphos’
                                     3-10 March 2015
                                       Lyon, France


 Dear Dr Ross,

 Following our prior correspondence by e-mail, we are pleased to officially invite you to participate in the
 IARC Monographs Working Group for volume 112. The Working Group will meet at the International
 Agency for Research on Cancer (IARC) in Lyon, France, from Tuesday 3 March 2015 9am through
 Tuesday 10 March 2015 6pm (Saturday included). Your participation for the full duration of the
 meeting is required.

 You will receive a writing assignment shortly. Experience has shown that on-time completion of
 writing assignments and pre-meeting peer-review are key to the efficiency of the meeting and the ultimate
 quality of the Monographs. Accordingly, we require all participants to comply with the following
 schedule:

           31.10.2014               Preliminary working papers and reference list due to IARC
           12.01.2015               Peer-reviews due to IARC
           02.02.2015               Revised working papers and reference list due to IARC

 Duringg the 8-dayy Monograph
                          g p meeting, g yyou will be expected
                                                         p      to take an active part in peer-reviewing and
 revising all drafts, and discussing and finalizing the evaluations. The entire volume is the joint product of
 the Working Group and there are no individually authored sections.

 We thank you for completing IARC’s Declaration of Interests, which we will ask you to update at the
 Monograph meeting. As a condition of your participation, description of any pertinent interests will be
 disclosed at the meeting and in the published Volume 112.

 IARC will publish a summary of the meeting in The Lancet Oncology on behalf of the Working Group.
 You will be requested to complete the conflict-of-interest form used by The Lancet Oncology, and their
 editor will disclose conflicting interests alongside IARC’s summary of the meeting.

 In the spirit of transparency, IARC will post the names of participants on the Monographs programme
 website in advance of the meeting. It is important that there be no interference from interested parties
 with the Working Group, before or during the meeting. Accordingly, we ask you not to discuss the
 subject matter with anyone with a conflicting interest and to let us know if anyone attempts to lobby you,
 send you written materials, or make any offer that may be linked to your participation.

 The Agency will provide you with a prepaid ticket for your travel by the most direct route (cheapest
 economy airfare available) through our travel agent. In addition, you will receive a daily allowance (per
 diem) and travel allowance as follows:
          Case 3:16-md-02741-VC Document 89-10 Filed 01/05/17 Page 3 of 3
002949




      <!--[if !supportLists]-->- <!--[endif]-->Per diem: 170 € per night during the authorized travel
           period (reduced to 50% during overnight flights);
      <!--[if !supportLists]-->- <!--[endif]-->Travel allowance: 45 € for each arrival and departure to
           and from Lyon St Exupéry airport and 25 € to and from other airports on the approved official
           itinerary.

 These allowances are intended to cover your hotel expenses, meals, and other incidental expenses
 including transfers to and from airport. They will be paid to you on the first day of the meeting upon your
 submission of an expense claim form and complete supporting documents including incoming boarding
 passes. We kindly ask you to ensure that all hotel bills are paid directly to the hotel prior to the departure.
 (U.S. Government employees should note that no U.S. Government funds will be used for their expenses
 and no honorarium will be paid.) Travel and hotel information is attached, including a hotel and travel
 form which we kindly request you to return by 15 December 2014 at the latest.

 We look forward to working with you and welcoming you to Lyon.

 Yours sincerely,


 Kate Z. Guyton, PhD DABT
 Responsible Officer for the meeting


 Kurt Straif, MD, PhD
 Head, IARC Monographs Section

 International Agency for Research on Cancer/Centre International de Recherche sur le Cancer
 150, cours Albert Thomas
 F-69372 Lyon Cedex 08
 France
 Tel: 33-4-72.73.86.54
 Fax: 33-4-72.73.83.19
 monograph112@iarc.fr
 http://monographs.iarc.fr/

 __________________
 Except for insurance coverage provided for accidents and loss of, or damage to, baggage and personal effects during travel,
 WHO will not be responsible for any loss, accident, damage or injury suffered by an expert, or any person claiming under
 such expert, arising in or out of his/her participation in this activity. WHO will not be responsible for any claims which are not
 covered, or which exceed the coverage provided, under WHO's insurance coverage. Experts serve in their individual
 capacities as scientists and not as representatives of their government or any organization with which they are affiliated. It is
 understood that the execution of this work does not create any employer-employee relationship between yourself and the
 World Health Organization, of which IARC is a part. Furthermore, experts are required to disclose all circumstances that
 could give rise to a potential conflict of interest as a result of their membership in the expert committee, advisory group or
 other activity, in accordance with the procedures established by the Director-General for that purpose.
 ______________
